Case 2:18-cv-03893-RGK-AGR Document 57-9 Filed 03/08/19 Page 1 of 1 Page ID #:390




  1
  2
  3
  4
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10                            WESTERN DIVISION
 11
 12   Edwardo Munoz, individually and on
      behalf of all others similarly situated,
                                                       Case No. 2:18-cv-03893-RGK-AGR
 13
                                 Plaintiff,
 14
               v.
                                                          [PROPOSED] ORDER
 15
      7-Eleven, Inc., a Texas corporation,                GRANTING PLAINTIFF’S
 16                                                       MOTION TO COMPEL
                                    Defendant.
 17
                                                          Complaint Filed: May 9, 2018
 18

 19
            Having considered the moving papers and all other matters presented to the
 20
      Court, the Court finds that Plaintiff’s Motion to Compel should be granted.
 21
            IT IS HEREBY ORDERED that Plaintiff’s Motion to Compel is GRANTED.
 22
 23   Dated:
                                                          Hon. Alicia G. Rosenberg
 24
                                                          United States Magistrate Judge
 25
      	
 26
 27

 28
                            [Proposed] Order Granting Plaintiff’s Motion to Compel
